    Case 22-12916-MBK       Doc 39    Filed 05/21/22 Entered 05/23/22 15:42:09               Desc Main
                                     Document      Page 1 of 4



           UNITED STATES BANKRUPTCY COURT
           DISTRICT Or NEW JERSEY

           DEMBO, BROWN & BURNS LLP                                   Order Filed on May 21, 2022
                                                                      by Clerk
           BY: KYLE F. EINGORN, ESQUIRE                               U.S. Bankruptcy Court
           1300 ROUTE 73                                              District of New Jersey
           SUITE205
           MT. LAUREL, NJ 08054
           (856) 354-8866
           KEINGORN@DBBLEGAL.COM
           ATTORNEYS FOR McCORMICK 110, LLC

           lNRE:
                                                       Chapter I I
          GEORGE SARlOTIS AND CINDY                    Case No. 22-12916-MBK
          SARIOTIS,                                    The Honorable Michael B. Kaplan, U.S.B.J.

                        Debtors.




                          CONSENT ORDER RESOLVING MOTION FOR
                            RELIEF FROM THE AUTOMATIC STAY

             The relief set forth on the following pages is hereby ORDERED.




DATED: May 21, 2022
Case 22-12916-MBK         Doc 39      Filed 05/21/22 Entered 05/23/22 15:42:09                Desc Main
                                     Document      Page 2 of 4



           THIS MATTER having come before the Court on Motion of McCormick 110, LLC

   ("McCormick") seeking relief from the automatic stay (the "Motion") and the parties having

   amicably resolved the aforementioned Motion, and for good cause having been shown;

          It is hereby ORDERED as follows:

           I. McCormick's Motion for relief from the automatic stay           as   to   the   following

   mortgaged properties is hereby resolved upon the terms set forth in the following numbered

   paragraphs:

               Land and premises commonly known as 61 Redwood Drive, Ocean,
               New Jersey 07712 (hereinafter, the "Redwood Property"). Land and
               premises identified by the lot and block numbers set forth below on
               Official Tax Map of the Township of Ocean, Connty of Monmouth and
               State of New Jersey.

                  Block Number                                          Lot{s) Number
                      150.06                                                 14

               Land and premises commonly known as 1801 Pitney Street, Ocean
               (Oakhurst), New Jersey 07755 (hereinafter, the "Pitney Property" and
               together with the Redwood Property, the "Properties"). Land and
               premises identified hy the lot and block 1111111 bers set forth below on
               Official Tax Map of the Township of Ocean, County of Monmouth and
               State of New Jersey.

                  Block Number                                          Lot(s) Number
                      33                                                    105

          2.      The Debtors agree to sell the Redwood Property on or before June 30, 2022, for a

  price that will generate sufficient proceeds to satisfy the claim of McCormick, in full. The Debtors

  agree to request, and McCormick and OceanFirst agree to provide the Debtors with an updated

  payoff in advance of the sale, if any.

         3.       The Debtors agree to sell the Pitney Property on or before September 30, 2022, for

  a price that will generate sufficient proceeds to satisfy the claim of McCormick, in full. The




                                                   2
Case 22-12916-MBK         Doc 39       Filed 05/21/22 Entered 05/23/22 15:42:09             Desc Main
                                      Document      Page 3 of 4



  Debtors agree to request, and McCormick and OceanFirst agree to provide the Debtors with an

   updated payoff in advance of the sale, if any.

          4.      The Debtors agree to make adequate protection payments to McCormick in the

  amount of$ I, I 00.00 per month towards the loan securing the Pitney Property beginning on May

  25, 2022 and continuing on the 25th day of each month until such time as the Pitney Property is

  sold and McCormick's loan is satisfied.

          The Debtors further agree to make adequate protection payments to OceanFirst in the

  amount of $1, I 00.00 per month towards the loans securing the Pitney Property beginning on May

  25, 2022 and continuing on the z5t1, day of each month until such time as the Pitney Property is

  sold.

          5.     To the extent that either of the Properties is not sold within the timeframes provided

  above, beginning on midnight of the last day of such respective timeframe, McCormick and

  OceanFirst shall have self-executing and in rem relief from the automatic stay to pursue its state

  court rights as to such Property.

          6.     This Order shall survive any conversion of this bankruptcy case to one filed under

  any other chapter under the Bankruptcy Code.



  We hereby consent to the form and entry of this Order:



   DEMBO, BROWN & BURNS LLP                             BROEGE, NEUMANN, FISCHER &
   Counsel for McCormick I I 0, LLC                     SHAVER,LLC
                                                        Counsel for the Debtors

   Isl Kyle F. Eingorn                                  Isl Geoffrey P. Neumann
   Kyle F. Eingorn, Esquire                             Geoffrey P. Neumann, Esquire




                                                    3
Case 22-12916-MBK      Doc 39     Filed 05/21/22 Entered 05/23/22 15:42:09   Desc Main
                                 Document      Page 4 of 4



   MEYNER AND LANDIS LLP
   Counsel for OceanFirst Bank, N.A., as
   successor by merger to Two River
   Community Bank


   Isl Matthew P. Dolan
   Matthew P. Dolan2 Esquire




                                            4
